                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION


   DON YORK, BEVERLY YORK,                       )
   JACOB STRADLING, ALISHA YORK-                 )
   STRADLING, JACK HARVEY, and                   )     Case No: 21-03251-CV-S-BP
   JUDY HARVEY,                                  )
                                                 )
                    Plaintiff,                   )
                                                 )
   vs.                                           )
                                                 )
   NORTHROP GRUMMAN GUIDANCE                     )
   AND ELECTRONICS COMPANY                       )
   INC., NORTHROP GRUMMAN                        )
   CORPORATION, and NORTHROP                     )
   GRUMMAN MISSION SYSTEMS,                      )
                                                 )
                    Defendants.
                                                 )
                                                 )


         CONSENT MOTION TO STAY DEADLINES PENDING RESOLUTION OF

                      PLAINTIFFS’ SECOND AMENDED COMPLAINT
         Defendants Northrop Grumman Guidance and Electronics Company, Inc., Northrop

Grumman Corporation, and Northrop Grumman Mission Systems (“Defendants”) and Plaintiffs

Don York, Beverly York, Jacob Stradling, Alisha York-Stradling, Jack Harvey, and Judy Harvey
(“Plaintiffs”) (collectively, the “Parties”) hereby move for an order staying all future deadlines in

the Court’s December 22, 2021 Scheduling Order Phase I: Class Certification (Doc. 26). In

support, the Parties state as follows:

         1.      On September 29, 2021, Plaintiffs filed their original Complaint in this action

(Doc. 1).

         2.      On December 7, 2021, Plaintiffs filed a First Amended Complaint (Doc. 20).
         3.      On December 14, 2021, the Parties filed a Joint Proposed Scheduling Order and

Discovery Plan (Doc. 24).


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       4.      On December 22, 2021, the Court issued a Scheduling Order (Doc. 26) and issued

the following deadlines: Plaintiffs must designate their experts in support of their motion for class

certification by October 3, 2022; Defendants must designate their experts in opposition to the

motion for class certification by November 7, 2022; Plaintiffs must designate rebuttal experts for

class certification by December 5, 2022; Plaintiffs’ motion for conditional certification of a

collective and/or class action must be certified by December 5, 2022; Defendants’ response to

Plaintiffs’ motion to certify a class must be filed by April 14, 2023; and Plaintiffs’ reply must be

filed by July 31, 2023.
       5.      On January 10, 2022, Defendants filed a motion to dismiss the First Amended

Complaint (Doc. 28) and a motion to strike class allegations (Doc. 27).1 Both motions were fully

briefed by February 28, 2022 (see Doc. 31, 32).

       6.      On May 18, 2022, the Court granted Defendants’ motion to dismiss the First

Amended Complaint and dismissed the First Amended Complaint in its entirety, denied the motion

to strike class allegations as moot, and granted leave for Plaintiffs to “file a Second Amended

Complaint that (1) asserts a claim predicated on Defendants’ failure to disclose facts in 2004 and

(2) omits the claims that have been dismissed by this Order (along with any factual allegations that

are germane only to the dismissed claims)” (Doc. 43 at 16).

       7.      On June 1, 2022, Plaintiffs filed a Second Amended Complaint (Doc. 44).

       8.      Defendants intend to file a motion to dismiss and motion to strike class allegations

in response to the Second Amended Complaint, and Plaintiffs intend to oppose those motions. In

light of the changes to Plaintiffs’ case represented in the Second Amended Complaint, the Parties

agree to mutually stay outstanding discovery obligations until the Court has disposed of

Defendants’ anticipated pleadings motions and Defendants file an answer to the operative




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        Defendants have advised Plaintiffs that Northrop Grumman Mission Systems is merely a
division of Northrop Grumman Guidance and Electronics Company, Inc. and is not a separate
legal entity that can be a defendant here.
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complaint. Defendants’ deadline to file the motions is June 15, 2022, and the motions are expected

to be fully briefed by mid-July.

        9.      The alleged action involves a putative class action asserting complex environmental

claims based on complicated theories of environmental contamination migration in connection

with contamination that allegedly originated decades ago and has also been subject to cleanup

under government orders for decades. Plaintiffs seek class certification for both property damage

and medical monitoring.

        10.     The parties exchanged initial written discovery requests in January 2022 keyed to
the First Amended Complaint and have been engaged in responding to that discovery pursuant to

a Court-entered protective order and an order regarding production of electronically stored

information. Document productions are underway and have been, and are expected to be,

extensive.

        11.     Revised written discovery requests, or alternate agreement among the parties to

limit the scope of discovery to the operative complaint, will be prudent to remove issues that were

dismissed by the Court’s May 18, 2022 order (such as the nuisance and trespass claims, as well as

any issues that may be dismissed, or modified, following any order on Defendants’ motions). It

will be inefficient for the Parties to exchange revised written discovery requests, much less respond

to them, until Defendants’ motions have been resolved. That discovery is critical to the parties’

expert designations (Plaintiffs’ designations are currently due October 3, 2022) and class

certification briefing.

        12.     This is particularly true in light of the anticipated substantial burdens of discovery,

and the parties’ mutual fact discovery alone will be burdensome (setting aside expert matters).

Among other things, Defendants’ remedial efforts at the subject site date back decades and involve

numerous third party consultants. Third party document collection, review, and production will be
cost- and labor- intensive, and the ultimate documents relevant to the parties’ claims and defenses

will be entirely dependent on Plaintiffs’ theories of liability that survive. Other fact discovery


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required prior to any expert designations will likely require party depositions and property

inspections (with environmental sampling).

       13.     Moreover, Plaintiffs’ Second Amended Complaint contains two alternate theories

of negligence premised on failure to warn (dating back 18 years) and negligent implementation of

a Consent Decree. Defendants’ motion to dismiss will request dismissal of both theories on several

different grounds. Defendants also intend to renew their previously mooted motion to strike, and,

if the Court were to grant all or a portion of that anticipated motion, should it be reached, that could

further limit the scope of the complaint and therefore discovery. Therefore, until the going-forward
theories of liability are confirmed, the Parties will spend time and labor on discovery for issues

that may not survive, which risks performing unnecessary or duplicative discovery, and may also

require judicial resources to address any discovery disputes that may arise.

       14.     “A district court has broad discretion to stay proceedings when appropriate to

control its docket.” Sierra Club v. U.S. Army Corps of Eng’rs, 446 F.3d 808, 816 (8th Cir. 2006).

The parties offer that it is in the best interests of the parties and judicial economy for the Court to

grant a stay of discovery until Defendants’ motions are disposed, and the operative complaint is

confirmed.

       15.     When considering a stay, courts typically consider the following factors: “(1)

potential prejudice to the non-moving party; (2) hardship and inequity to the moving party if the

action is not stayed; and (3) the judicial resources that would be saved.” Emerson v. Lincoln

Electric Holdings, Inc., No. 09-6004-CV-SJ-GAF, 2009 WL 690181, at *1 (W.D. Mo. Mar. 12,

2009) (internal quotations omitted).

       16.     All three of the factors favor a stay. First, Plaintiffs will not suffer undue prejudice

because they consent to this request and the case is in the pleading stages.

       17.     Second, a stay will lessen the hardship and inequity on the Defendants because the
Defendants will avoid the enormous costs of discovery on account of the decades of potentially

relevant third party records and the need for a detailed confidentiality and/or privilege review of

every document.
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       18.     Finally, the Court will benefit from the preservation of its judicial resources because

it will not have to expend its time resolving discovery disputes for parties who are able to reach a

resolution.

       19.     The Parties jointly and in good faith request that the Court stay all future deadlines

in the Scheduling Order (Doc. 26) until the Court has disposed of Defendants’ anticipated

pleadings motions and Defendants file an answer to the operative complaint.

       20.     This Motion is not brought for the purpose of delay and will not prejudice this

proceeding or any party to the proceedings.
       21.     Within seven days of Defendants filing an answer, the Parties request leave to

submit a proposed schedule with new dates for any deadlines in the Scheduling Order that are

stayed, with the intent that the entire remaining schedule be extended to approximate the amount

of time that remained for each deadline as of the date the Court issued the order granting a stay, or

on such terms as the Court deems just.

       WHEREFORE the Parties respectfully request that the Court stay all future deadlines in

the current Scheduling Order, to be revisited as set forth above when Defendants file an answer

to the operative complaint.


       Dated: June 13, 2022                   Respectfully submitted,

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                                    ALISHA YORK-STRADLING, JACK
                                    HARVEY and JUDY HARVEY



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                               CERTIFICATE OF SERVICE


    I hereby certify that on this 13th day of June 2022, a true and correct copy of the foregoing
document was filed with the Clerk of Court via CM/ECF and served on counsel for Defendants
through the Notice of Electronic Filing.

                                                    By: /s/ Randy J. Soriano




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